                                                                                       ORDER:
                                                                               The motion is GRANTED.


                       IN THE UNITED STATES DISTRICT COURT ______________________
                      FOR THE MIDDLE DISTRICT OF TENNESSEE    Alistair E. Newbern
                                NASHVILLE DIVISION           U.S. Magistrate Judge

In the Matter of the Extradition of           )
                                              )
Riccardo Paolo Spagni a/k/a                   )      Case No. 3:21-mj-04149-1
                                              )
Ricardo Paolo Spagni                          )      Magistrate Judge Alistair E. Newbern


    DEFENDANT’S UNOPPOSED MOTION TO CONTINUE HEARING DATE AND
                  ACCOMPANYING FILING DEADLINES

       Riccardo Paolo Spagni a/k/a Ricardo Paolo Spagni (“Spagni”), through counsel, moves the

Court for an ORDER continuing the hearing date of this matter and all accompanying filing

deadlines. In support, undersigned counsel submits that additional time is required to evaluate and

assess the Government’s legal position, to adequately prepare for the hearing in this matter, and to

provide effective representation to Spagni.

       Undersigned counsel has consulted with the Government regarding this Motion, and has

consulted with the Government regarding an agreed revised briefing schedule and hearing date.

The Government does not oppose the Motion.

       Spagni respectfully requests the Court adopt the following revised briefing schedule:

              Spagni’s Response to the Government’s initial filing shall be filed on February 25,
               2022.

              The Government’s Reply, if any, shall be filed on March 11, 2022.

              The Hearing on this matter shall be conducted on April 7th, 2022 at 10:30am.




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Respectfully submitted,


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Admitted Pro Hac Vice

Counsel for Riccardo Spagni



                                 CERTIFICATE OF SERVICE
I hereby certify that on February 9, 2022, I electronically filed the foregoing with the clerk of the
court by using the CM/ECF system, which will send a Notice of Electronic Filing to all attorneys
of record.

                                                      _/s/ Jonathan Farmer
                                                      Jonathan Farmer




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